Case 2:85-cv-04544-DMG-AGR Document 640 Filed 09/03/19 Page 1 of 15 Page ID
                                #:33101


 1   CARLOS R. HOLGUÍN (Cal. Bar No. 90754)
 2   PETER A. SCHEY (Cal. Bar No. 58232)
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 3   256 South Occidental Boulevard
 4   Los Angeles, CA 90057
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 5   Email:      crholguin@centerforhumanrights.org
 6               pschey@centerforhumanrights.org

 7
     Additional Plaintiffs’ counsel on next page
 8
 9
10
11
12
13                         UNITED STATES DISTRICT COURT

14          CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
15
16
17   JENNY LISETTE FLORES, et al.,                 Case No. CV 85-4544-DMG (AGRx)

18                   Plaintiffs,                   PLAINTIFFS’ OPPOSITION TO EX PARTE
                                                   APPLICATION FOR EXTENDED PAGE
19         v.                                      LIMIT; DECLARATION OF COUNSEL
20
     WILLIAM BARR, Attorney General, et al.,       Hearing: None scheduled
21
                     Defendants.
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28
                                                         OPPOSITION TO EX PARTE APPLICATION FOR
                                                                           EXPANDED PAGE LIMIT
                                                                        CV 85-4544-DMG(AGRX)
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 1   Plaintiff’s counsel, continued:
 2
     LEECIA WELCH (Cal. Bar No. 208741)
 3   NEHA DESAI (Cal. RLSA Bar No. 803161)
 4   FREYA PITTS (Cal. Bar No. 295878)
     National Center for Youth Law
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 6   Oakland, CA 94612
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 7   Email:      lwelch@youthlaw.org
 8               ndesai@youthlaw.org
                 fpitts@youthlaw.org
 9
10   HOLLY S. COOPER (Cal. Bar No. 197626)
     Co-Director, Immigration Law Clinic
11   University of California Davis School of Law
12   One Shields Ave. TB 30
     Davis, CA 95616
13   Telephone: (530) 754-4833
14   Email:       hscooper@ucdavis.edu
15   JENNIFER KELLEHER CLOYD (CAL. BAR NO. 197348)
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17   The Law Foundation of Silicon Valley
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21          kate.manning@lawfoundation.org
22          annettek@lawfoundation.org
23   ///
24
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28
                                                     OPPOSITION TO EX PARTE APPLICATION FOR
                                           - ii -                      EXPANDED PAGE LIMIT
                                                                    CV 85-4544-DMG(AGRX)
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                                #:33103


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 2   Orrick, Herrington & Sutcliffe llp
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 3   Los Angeles, CA 90017
 4   Telephone: (213) 629-2020
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 5
 6   ELYSE ECHTMAN (ADMITTED PRO HAC VICE)
     SHAILA RAHMAN DIWAN (ADMITTED PRO HAC VICE)
 7   RENE KATHAWALA (ADMITTED PRO HAC VICE)
 8   Orrick, Herrington & Sutcliffe llp
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11                sdiwan@orrick.com
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13   ///
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                                                       OPPOSITION TO EX PARTE APPLICATION FOR
                                             - iii -                     EXPANDED PAGE LIMIT
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 1         Plaintiffs oppose Defendants’ ex parte application (Doc. #631) to file a 60-
 2   page brief supplementing their opposition to Plaintiffs’ motion (Doc. #516) to
 3   enforce the Flores settlement agreement (“Settlement”) and supporting an
 4   independent motion to terminate the Settlement (Doc. 639) based on—yes, once
 5   again—“changed circumstances.” Plaintiffs respectfully request that the Court deny
 6   Defendants’ request for an extended page limit, order Defendants to re-file their
 7   supplemental brief as a standalone filing, and deny Defendants’ motion to terminate
 8   sua sponte for the reasons discussed below.
 9         On September 7, 2018 Defendants published proposed regulations aimed at
10   terminating the Settlement. See Apprehension, Processing, Care and Custody of
11   Alien Minors and Unaccompanied Alien Children, 83 Fed. Reg. 45,486– 45,534
12   (“Proposed Rule”).
13         Plaintiffs thereupon moved the Court to declare Defendants in anticipatory
14   breach of ¶ 9 of the Settlement, which enjoins rulemaking that is “inconsistent with
15   the terms of the Settlement.”
16         On November 21, 2018, the Court deferred ruling on Plaintiffs’ motion
17   pending Defendants’ publishing final regulations. Order re: Plaintiffs’ Motion to
18   Enforce Settlement, Nov. 21, 2018 (Doc. #525). The Court ordered that “[w]ithin
19   seven (7) days of the publication of the final regulations, the parties shall file
20   simultaneous supplemental briefing addressing whether the regulations are
21   consistent with the terms of the Flores Agreement” and that Plaintiffs’ motion
22   “shall thereafter be deemed submitted.” Id.
23         On August 23, 2019, Defendants issued their final rule. 84 Fed. Reg. 44,392
24   (Aug. 23, 2019) (the “Final Rule”). On August 30, Plaintiffs filed a 19-page
25   supplemental brief (Doc. #634) demonstrating that the Final Rule is grossly
26   inconsistent with the Settlement and accordingly violative of Settlement ¶ 9.
27         Defendants, on the other hand, opted to ignore the Court’s directive, and
28   instead applied ex parte to file a combined 60-page brief both opposing Plaintiffs’
                                                           SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
                                                 1              MOTION TO ENFORCE SETTLEMENT, ETC.
                                                                           CV 85-4544-DMG(AGRX)
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 1   motion to enforce and supporting an independent motion to terminate the
 2   Settlement.1 The Court should deny Defendants’ application.
 3          First, Defendants were previously afforded an opportunity to file 25 pages
 4   opposing Plaintiffs’ motion. Read with Local Rule 11-6, the Court’s order afforded
 5   them another 25 pages, for a total of 50, to oppose Plaintiffs’ motion. That is more
 6   than enough.
 7          Second, the only time-sensitive issue now before the Court is whether the
 8   Final Rule is or is not consistent with the Settlement. As reflected in the Court’s
 9   Order of November 21, that question—and that question alone—must be resolved
10   with 45 days following publication of the Final Rule. In contrast, none of
11   Defendants’ alternative grounds for terminating the Settlement is subject to the 45-
12   day deadline, nor, indeed, to any deadline at all.
13          Third, Defendants have unsuccessfully argued the “alternative” grounds for
14   terminating the Settlement set out in their combined memorandum multiple times
15   before: i.e.,
16          •        that the Settlement should be jettisoned in light of “changed
17                   circumstances,” particularly the “unprecedented increase” in families
18                   seeking to enter the United States across the southern border;2
19
     1
20     The Court’s procedure regarding ex parte applications provides: “. . . The moving
     party . . . shall notify the opposing party that any opposition must be filed not later
21   than 24 hours after the service of the application. The moving party shall advise the
22   Court in its application whether opposing counsel will be filing opposition . . .”
     Hon. Dolly M. Gee, Judge’s Procedures, available at
23   www.cacd.uscourts.gov/honorable-dolly-m-gee (last visited September 2, 2019).
24
     Defendants (1) failed to advise the Court in its application that Plaintiffs would be
25   filing opposition to their ex parte application; and, (2) as far as Plaintiffs know,
     failed to advise that their opposition would be due 24 hours after service of their
26
     application. Declaration of Carlos Holguín, attached hereto.
27
     2
      Compare Defendants’ Notice of Termination of Flores Settlement Agreement,
28   etc., August 30, 2019 (Doc. #639) (“Motion to Terminate”) at 51 (“It is in the
                                                             OPPOSITION TO EX PARTE APPLICATION FOR
                                                -2-                            EXPANDED PAGE LIMIT
                                                                            CV 85-4544-DMG(AGRX)
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 1         •      that the Settlement was never intended to cover children taken into
 2                federal custody as part of family units;3 and
 3         •      that changes in the law—enactment of the Homeland Security Act of
 4                2002, Pub. L. 107-296, 116 Stat. 2135 and the William Wilberforce
 5                Trafficking Victims Protection Reauthorization Act of 2008, 110 Pub.
 6                L. 457, 122 Stat. 5044 (“TVPRA”)—have created “conflicts” with the
 7                Settlement that warrant its termination.4
 8         Remarkably, Defendants themselves acknowledge that “as recently as last
 9   year, this Court found that the prominent changes in statutory law and the landscape
10   of immigration” do not warrant termination or amendment of the Settlement.
11   Motion to Terminate at 54-55. Defendants nevertheless “submit that [the Court’s]
12   conclusion was erroneous,” id. at 55, even as they fail to identify their motion as
13
14
     public interest to terminate the Agreement given the . . . unprecedented surge of
15
     family migration . . .”); with Defendants’ Protective Notice of Motion to Modify
16   Settlement Agreement, February 27, 2015 (Doc. #120) at 4 (“2015 Motion to
     Modify”) (“[T]oday the numbers of UACs, and the numbers of accompanied
17
     children, have skyrocketed.”); and Defendants’ Memorandum of Points and
18   Authorities in Support of Ex Parte Application for Relief from the Flores
     Settlement Agreement, June 21, 2018 (Doc. #435-1) at 3 (“Illegal family crossing
19
     and apprehensions . . . [have] dramatically increased . . .”).
20
     3
      Compare Motion to Terminate at 8 (“Nowhere does the Agreement specify
21   criteria for programs or conditions governing custody of family units.”); with
22   Defendants’ Response in Opposition to Plaintiffs’ Motion to Enforce Settlement of
     Class Action, February 27, 2015 (Doc. #121) at 7-20 (arguing that Settlement does
23   not protect accompanied class members).
24   4
       Compare Motion to Terminate at 53-54 (“The law governing immigration and
25   alien minors has changed significantly since the Agreement was entered, further
     warranting termination.”); with Defendants’ Response in Opposition to Plaintiffs’
26
     Motion to Enforce Settlement, August 26, 2016 (Doc. #247) at 10-16 (arguing that
27   TVPRA supersedes Settlement ¶ 24A); and 2015 Motion to Modify at 15-20
     (same).
28
                                                           OPPOSITION TO EX PARTE APPLICATION FOR
                                              -3-                            EXPANDED PAGE LIMIT
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 1   seeking reconsideration and to explain how their re-arguing failed theories passes
 2   muster under Local Rule 7-18.
 3             The Court’s Standing Order provides: “Memoranda of points and authorities
 4   shall not exceed 25 pages. . . Only in rare instances and for good cause shown will
 5   the Court grant an application to extend these page limitations.”
 6   www.cacd.uscourts.gov/sites/default/files/documents/DMG/AD/Initial%20Standin
 7   g%20Order-DMG.pdf (emphasis added). Defendants’ desire to accrete tired and
 8   discredited refrains to the supplemental brief the Court ordered them to file hardly
 9   constitutes good cause for blowing up the page limits of Local Rule 11-6.
10             Fourth, nothing prevented Defendants from filing an independent motion to
11   terminate during the nine months that have transpired since they published the
12   Proposed Rule. Nor does anything—save perhaps Rule 11, Fed.R.Civ.Proc.—stop
13   them from filing an independent motion to terminate, either now or at any time after
14   they file the supplemental brief this Court ordered them to file.5
15             Finally, Defendants’ ex parte application implicitly demands the Court to
16   (again) resolve discredited, extraneous, and time-independent reasons to scuttle the
17   Settlement simultaneously with Plaintiffs’ nine-month old motion to enforce.
18   Defendants’ ex parte application and combined brief transparently pile on and coat-
19   tail with an eye toward setting up yet another appeal that will have little or no
20   chance of success, but that will serve to placate political objectives having no place
21   in a court of law. That doing so foists a palpable strain on the Court’s ability to
22   resolve Plaintiffs’ motion within the 45-day deadline concerns Defendants little, if
23   at all.
24
25
     5
      Of course, were Defendants simply to file an independent motion to terminate,
26
     Local Rule 11-6 would allow them opening and reply briefs of 25 pages each and
27   obviate any need to burden this Court and Plaintiffs with the instant superfluous ex
     parte application.
28
                                                             OPPOSITION TO EX PARTE APPLICATION FOR
                                                -4-                            EXPANDED PAGE LIMIT
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 1         In sum, this Court should enforce its Standing Order, its Order of November
 2   21, Local Rules 7-18 and 11-6, and its procedure regarding ex parte applications—
 3   all of which Defendants flaunt—deny Defendants’ ex parte application, and deny
 4   Defendants’ Motion to Terminate sua sponte for failing to comply with the
 5   foregoing rules and procedures. E.g., Order Denying Without Prejudice Plaintiffs’
 6   Motion for Award of Attorney’s Fees, May 29, 2019 (Doc. #546) (denying motion
 7   for failure to meet and confer pursuant to Local Rule 7-3).6
 8   Dated: September 3, 2019             CARLOS R. HOLGUÍN
 9                                        PETER A. SCHEY
                                          Center for Human Rights & Constitutional Law
10
                                          LEECIA WELCH
11
                                          NEHA DESAI
12                                        FREYA PITTS
                                          National Center for Youth Law
13
14                                        HOLLY S. COOPER
                                          CARTER WHITE
15                                        U.C. Davis School of Law
16
                                          KEVIN ASKEW
17                                        ELYSE ECHTMAN
                                          SHAILA DIWAN RAHMAN
18
                                          RENE KATHAWALA
19                                        Orrick, Herrington & Sutcliffe LLP
20
21                                        /s/ Carlos Holguin
                                          Carlos Holguín
22                                        One of the attorneys for Plaintiffs
23
24
25   6
       In the alternative, Plaintiffs request that the Court deny Defendants’ request for an
     extended page limit, order Defendants to re-file their supplemental brief, and
26
     require Defendants to re-file their motion to terminate after meeting and conferring
27   with Plaintiffs regarding an appropriate briefing and hearing schedule subsequent to
     this Court’s ruling on Plaintiffs’ Motion to Enforce.
28
                                                           OPPOSITION TO EX PARTE APPLICATION FOR
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                         DECLARATION OF CARLOS HOLGUIN
      I, Carlos Holguín, declare and say as follows:
      1. I am one of two attorneys who currently serve as class counsel for
Plaintiffs in Flores v. Barr.
      2. Annexed hereto is a true and correct copy of an email chain reflecting
Defendants’ effort to advise Plaintiffs of their intent to file a combined brief
supplementing their opposition to Plaintiffs’ motion to enforce (Doc. #516) and in
support of an independent motion to terminate the Flores settlement agreement. To
my knowledge, Defendants made no effort beyond what appears in the annexed
email chain to advise Plaintiffs of their ex parte application (Doc. #631), or to
notify Plaintiffs “that any opposition must be filed not later than 24 hours after the
service of the application.”
      I declare under penalty of perjury that the foregoing is true and correct.
      Executed this 2nd day of September, 2019, at Santa Clarita, California.



                                        _____________________________
                                        Carlos Holguin
///
  Case 2:85-cv-04544-DMG-AGR Document 640 Filed 09/03/19 Page 10 of 15 Page ID
                                  #:33110

  From:    Carlos Holguín crholguin@centerforhumanrights.org
Subject:   Re: Flores Regulation Timing and Meeting and Conferring
   Date:   August 28, 2019 at 1:32 PM
     To:   Fabian, Sarah B (CIV) Sarah.B.Fabian@usdoj.gov
    Cc:    Flentje, August (CIV) August.Flentje@usdoj.gov, Davila, Yamileth G (CIV) Yamileth.G.Davila@usdoj.gov, Holly S Cooper
           hscooper@ucdavis.edu, Leecia Welch lwelch@youthlaw.org, Kathawala, Rene rkathawala@orrick.com, Neha Desai
           ndesai@youthlaw.org, Peter Schey pschey@centerforhumanrights.org


       Plaintiffs oppose Defendants’ filing a combined memorandum of any length.

       Plaintiffs oppose Defendants’ filing an oversize supplemental brief on Plaintiffs’ motion to enforce (Doc. #516).

       Plaintiffs take no position with respect to Defendants’ seeking leave to file an oversize brief in support of an
       independent motion to terminte the Flores settlement.

       Carlos Holguín
       General Counsel
       Center for Human Rights & Constitutional Law
       256 S. Occidental Blvd.
       Los Angeles, California 90057
       213.388-8693 x.309 (v)
       ​(213) 290-1642​ (direct)
        213.386.9484 (fax)
        http://www.centerforhumanrights.org
           On Aug 28, 2019, at 1:11 PM, Fabian, Sarah B (CIV) <Sarah.B.Fabian@usdoj.gov> wrote:

           Carlos – notwithstanding your objections to the substance of what Defendants intend
           to file, am I correct in understanding that you would agree that a combined brief
           including Defendants’ supplemental briefing and Defendants’ Motion may be 50
           pages long? And if so can you please clarify if you intend to object to our application
           to file an additional 10 pages so that we can note your objection—or lack thereof—for
           the Court in our filing.

           Best,
           Sarah

           Sarah B. Fabian
           Senior Litigation Counsel
           Office of Immigration Litigation – District Court Section
           (202) 532-4824

           From: Carlos Holguín <crholguin@centerforhumanrights.org>
           Sent: Monday, August 26, 2019 6:40 PM
           To: Flentje, August (CIV) <AFlentje@CIV.USDOJ.GOV>; Davila, Yamileth G (CIV)
           <ydavila@CIV.USDOJ.GOV>
           Cc: Holly S Cooper <hscooper@ucdavis.edu>; Fabian, Sarah B (CIV)
           <sfabian@CIV.USDOJ.GOV>; Leecia Welch <lwelch@youthlaw.org>; Kathawala,
           Rene <rkathawala@orrick.com>; Neha Desai <ndesai@youthlaw.org>; Peter Schey
           <pschey@centerforhumanrights.org>
           Subject: Re: Flores Regulation Timing and Meeting and Conferring

           Dear Counsel,

           Some nine months ago Plaintiffs moved for an order requiring Defendants to comply
Case 2:85-cv-04544-DMG-AGR Document 640 Filed 09/03/19 Page 11 of 15 Page ID
                                #:33111
    Some nine months ago Plaintiffs moved for an order requiring Defendants to comply
    with the Flores Settlement notwithstanding its rulemaking. On November 21, 2018, the
    Court took Plaintiffs’ motion under submission and ordered the Parties to file
    supplemental briefs addressing whether the final regulations cured the myriad
    inconsistencies between Defendants’ proposed rules and the Flores Settlement Plaintiffs
    had identified in the proposed rules.

    Whether the Flores Settlement continues to regulate Defendants’ treatment of class
    members notwithstanding their final regulations is therefore squarely before the Court
    regardless of any new motion Defendants may file. Inasmuch as both sides have already
    been allotted 25 pages of briefing on that motion, there should be no need for
    Defendants to file anything approaching 60 pages of supplemental briefing. (To be
    frank, Plaintiffs see no reason Defendants should require more pages than Local Rule
    11-6 allows to establish what they could not succeed in establishing in 100, 1,000 or
    even 10,000 pages: namely, that Defendants’ final regulations are consistent with the
    Flores Settlement.)

    Insofar as Defendants wish to raise other grounds for terminating the Flores Settlement,
    they are free to do so by separate motion, which would allow them another 25 pages of
    briefing. Combined, Defendants’ supplemental brief on Plaintiffs’ motion and their brief
    supporting an independent motion would amount to 50 pages, or only ten fewer than
    they now want.

    In sum, Plaintiffs will vigorously oppose Defendants’ "piggy-backing” a new motion on
    the one Plaintiffs filed nine months ago and any move that could delay resolution of
    whether Defendants' regulations are consistent with theFlores Settlement.

    One final matter: the regulations aside, as I understand them, Defendants intended
    grounds for seeking termination of the Flores Settlement involve the passage of time
    and changed circumstances. Those grounds sound much the same as those the Court has
    previously rejected for modifying the Settlement, to say nothing of terminating it. I trust
    Defendants will prove me wrong, but in the event the grounds Defendants assert for
    terminating the Settlement prove duplicative of those the Court has previously rejected,
    Plaintiffs will strongly consider seeking Rule 11 sanctions.

    Sincerely,

    Carlos Holguín
    General Counsel
    Center for Human Rights & Constitutional Law
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    Los Angeles, California 90057
    213.388-8693 x.309 (v)
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    http://www.centerforhumanrights.org



          On Aug 26, 2019, at 1:53 PM, Flentje, August (CIV)
Case 2:85-cv-04544-DMG-AGR Document 640 Filed 09/03/19 Page 12 of 15 Page ID
                                #:33112
         On Aug 26, 2019, at 1:53 PM, Flentje, August (CIV)
         <August.Flentje@usdoj.gov> wrote:

         Holly –

         Thank you for conferring with us last week. As discussed, the
         government’s position is that the Flores Agreement’s termination
         provision was triggered upon publication of the implementing regulation
         on Friday, and our filing this week will address that in response to the
         Court’s order, and also include in the alternative a motion to terminate the
         Agreement. We appreciated our discussion of the upcoming deadline,
         and our current plan is to file on the Court’s deadline – August 30. We
         are not exactly sure what rule would apply to govern the length of next
         week’s filing, but we will likely be asking the Court to permit us to file a
         brief of 60 pages addressing both our motion and our response to the
         Court’s order. Will you object? We would of course not object to your
         filing a brief of the length you need to respond to the court’s order,
         although keep in mind one reason for the length of our request will be
         that our memorandum will address both the response and our motion,
         and you will of course get a chance to respond to the motion in the
         normal course under the rules.

         Thank you for your consideration and let us know if you’d like to discuss.

         Auggie


         From: Holly S Cooper <hscooper@ucdavis.edu>
         Sent: Thursday, August 22, 2019 11:18 AM
         To: Flentje, August (CIV) <AFlentje@CIV.USDOJ.GOV>; Fabian, Sarah
         B (CIV) <sfabian@CIV.USDOJ.GOV>; Carlos Holguin
         (crholguin@centerforhumanrights.org)
         <crholguin@centerforhumanrights.org>; Leecia Welch
         (lwelch@youthlaw.org) <lwelch@youthlaw.org>; Kathawala, Rene
         <rkathawala@orrick.com>; Neha Desai (ndesai@youthlaw.org)
         <ndesai@youthlaw.org>; Davila, Yamileth G (CIV)
         <ydavila@CIV.USDOJ.GOV>
         Subject: Re: Flores Regulation Timing and Meeting and Conferring

         Thanks, we are waiting to hear from Carlos Holguin if this time
         works. He is in a deposition in D.C. right now and we will confirm as
         soon as we hear from him.


         From: Flentje, August (CIV) <August.Flentje@usdoj.gov>
         Sent: Thursday, August 22, 2019 7:49 AM
         To: Holly S Cooper <hscooper@ucdavis.edu>; Fabian, Sarah B (CIV)
         <Sarah.B.Fabian@usdoj.gov>; Carlos Holguin
         (crholguin@centerforhumanrights.org)
         <crholguin@centerforhumanrights.org>; Leecia Welch
Case 2:85-cv-04544-DMG-AGR Document 640 Filed 09/03/19 Page 13 of 15 Page ID
                                #:33113
         <crholguin@centerforhumanrights.org>; Leecia Welch
         (lwelch@youthlaw.org) <lwelch@youthlaw.org>; Kathawala, Rene
         <rkathawala@orrick.com>; Neha Desai (ndesai@youthlaw.org)
         <ndesai@youthlaw.org>; Davila, Yamileth G (CIV)
         <Yamileth.G.Davila@usdoj.gov>
         Subject: RE: Flores Regulation Timing and Meeting and Conferring

         Let’s talk at 12 pacific, 3 eastern. Adding Yami Davila. Thanks for
         offering to send a conference number.

         From: Holly S Cooper <hscooper@ucdavis.edu>
         Sent: Wednesday, August 21, 2019 9:46 PM
         To: Fabian, Sarah B (CIV) <sfabian@CIV.USDOJ.GOV>; Carlos
         Holguin (crholguin@centerforhumanrights.org)
         <crholguin@centerforhumanrights.org>; Leecia Welch
         (lwelch@youthlaw.org) <lwelch@youthlaw.org>; Kathawala, Rene
         <rkathawala@orrick.com>; Neha Desai (ndesai@youthlaw.org)
         <ndesai@youthlaw.org>
         Cc: Flentje, August (CIV) <AFlentje@CIV.USDOJ.GOV>
         Subject: Re: Flores Regulation Timing and Meeting and Conferring

         Sarah and August,
         We are available tomorrow from 12-3 PST. Please let us know if any of
         those times work and we can circulate a conference line.

         Best,
         Holly

         Get Outlook for iOS

         From: Fabian, Sarah B (CIV) <Sarah.B.Fabian@usdoj.gov>
         Sent: Wednesday, August 21, 2019 5:32:34 PM
         To: Holly S Cooper <hscooper@ucdavis.edu>; Carlos Holguin
         (crholguin@centerforhumanrights.org)
         <crholguin@centerforhumanrights.org>; Leecia Welch
         (lwelch@youthlaw.org) <lwelch@youthlaw.org>; Kathawala, Rene
         <rkathawala@orrick.com>; Neha Desai (ndesai@youthlaw.org)
         <ndesai@youthlaw.org>
         Cc: Flentje, August (CIV) <August.Flentje@usdoj.gov>
         Subject: RE: Flores Regulation Timing and Meeting and Conferring

         Thanks Holly – apologies if I misread your email. I thought you were
         requesting a meet and confer yourself.

         Yes, let’s set a time to talk after the rule is posted for public
         inspection, which is expected to be tomorrow. My schedule may be
         harder to pin down so if you can give us a few timeframes where
         your team is available, Auggie and I will do our best to make a time
         work for one or both of us.
Case 2:85-cv-04544-DMG-AGR Document 640 Filed 09/03/19 Page 14 of 15 Page ID
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         work for one or both of us.

         Thank you,
         Sarah

         Sarah B. Fabian
         Senior Litigation Counsel
         Office of Immigration Litigation – District Court Section
         (202) 532-4824

         From: Holly S Cooper <hscooper@ucdavis.edu>
         Sent: Wednesday, August 21, 2019 8:02 PM
         To: Fabian, Sarah B (CIV) <sfabian@CIV.USDOJ.GOV>; Carlos
         Holguin (crholguin@centerforhumanrights.org)
         <crholguin@centerforhumanrights.org>; Leecia Welch
         (lwelch@youthlaw.org) <lwelch@youthlaw.org>; Kathawala, Rene
         <rkathawala@orrick.com>; Neha Desai (ndesai@youthlaw.org)
         <ndesai@youthlaw.org>
         Cc: Flentje, August (CIV) <AFlentje@CIV.USDOJ.GOV>
         Subject: Re: Flores Regulation Timing and Meeting and Conferring

         We don’t believe a meet and confer is necessary but we saw that you had
         suggested that the parties would be meeting and conferring in your filing
         today. Please let us know if we interpreted this in error. Thanks, Sarah, and
         safe travels.

         Get Outlook for iOS

         From: Fabian, Sarah B (CIV) <Sarah.B.Fabian@usdoj.gov>
         Sent: Wednesday, August 21, 2019 4:50:49 PM
         To: Holly S Cooper <hscooper@ucdavis.edu>; Carlos Holguin
         (crholguin@centerforhumanrights.org)
         <crholguin@centerforhumanrights.org>; Leecia Welch
         (lwelch@youthlaw.org) <lwelch@youthlaw.org>; Kathawala, Rene
         <rkathawala@orrick.com>; Neha Desai (ndesai@youthlaw.org)
         <ndesai@youthlaw.org>
         Cc: Flentje, August (CIV) <August.Flentje@usdoj.gov>
         Subject: RE: Flores Regulation Timing and Meeting and Conferring

         Adding Auggie Flentje. I am traveling over the next few days, but we
         can work with you to schedule a time to meet and confer after the
         rule is posted for public inspection. What do you need to meet and
         confer about?

         Best,
         Sarah

         Sarah B. Fabian
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                                #:33115

         Sarah B. Fabian
         Senior Litigation Counsel
         Office of Immigration Litigation – District Court Section
         (202) 532-4824

         From: Holly S Cooper <hscooper@ucdavis.edu>
         Sent: Wednesday, August 21, 2019 4:02 PM
         To: Fabian, Sarah B (CIV) <sfabian@CIV.USDOJ.GOV>; Carlos
         Holguin (crholguin@centerforhumanrights.org)
         <crholguin@centerforhumanrights.org>; Leecia Welch
         (lwelch@youthlaw.org) <lwelch@youthlaw.org>; Kathawala, Rene
         <rkathawala@orrick.com>; Neha Desai (ndesai@youthlaw.org)
         <ndesai@youthlaw.org>
         Subject: Flores Regulation Timing and Meeting and Conferring

         Dear Sarah,

         We are in receipt of your filing regarding the notice of the filing of
         final regulations. We were wondering what your availability is to meet
         and confer. Thank you.

         Holly S. Cooper
         Co-Director
         Immigration Law Clinic
         UC Davis School of Law
         One Shields Avenue TB 30
         Davis, CA 95616
         Tel: (530) 754-4833
         Fax: (530) 752-0822
         hscooper@ucdavis.edu

         <image001.jpg>
